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                         UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF FLORIDA
  __________________________________________
                                            )
  DONALD J. TRUMP, et al.,                  )
                                            )
                    Plaintiffs,             )
                                            )
              v.                            )  No. 1:21-cv-22440-KMW-CMM
                                            )
  FACEBOOK, INC. et al.                     )
                                            )
                    Defendants.             )
  __________________________________________)

             UNITED STATES OF AMERICA’S ACKNOWLEDGEMENT OF
            PLAINTIFFS’ NOTICE OF CONSTITUTIONAL CHALLENGE AND
                   MOTION TO STAY INTERVENTION DEADLINE

         On July 9, 2021, Plaintiffs filed a Notice of Constitutional Question pursuant to Federal

  Rule of Civil Procedure 5.1. ECF No. 5. By order dated July 21, 2021, the Court certified a

  constitutional question to the U.S. Attorney General and provided that “the U.S. Attorney General

  may intervene on behalf of the United States in this matter on or before September 7, 2021[.]”

  ECF No. 14, at 2.

         The approval of the Solicitor General would be required for the United States to intervene

  in this action. See 28 C.F.R. § 0.21. The process of obtaining a decision from the Solicitor General

  regarding intervention generally takes at least several weeks, sometimes longer. In this matter, the

  constitutional challenge has been raised only in the operative complaint (ECF No. 16). The United

  States is unaware of any motion or other filing in this action that contains the arguments, citing

  pertinent authorities, on which Plaintiffs’ constitutional challenge is based. Such a filing would

  assist the United States in deciding whether intervention is warranted in this matter.

         Accordingly, the United States respectfully requests that this Court stay the United States’

  intervention deadline until the parties have had the opportunity to confer and submit a proposed

  schedule for any anticipated briefing that would raise the constitutional challenge. Undersigned
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  counsel for the United States intends to confer with counsel for all parties on their anticipated

  schedule for such briefing. 1

          Pursuant to Local Rule 7.1(a)(3), the undersigned certifies that he has conferred with

  counsel for Plaintiffs by telephone on August 18, 2021 about the relief sought herein. Counsel for

  Plaintiffs stated that Plaintiffs do not oppose the relief sought herein.



  Date: August 19, 2021                  Respectfully submitted,

                                         MICHAEL D. GRANSTON
                                         Deputy Assistant Attorney General

                                         ERIC WOMACK
                                         Assistant Branch Director

                                         /s/_Joshua Kolsky_____
                                         JOSHUA KOLSKY
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                                         Attorneys for the United States




  1
   Counsel for the United States are aware that Plaintiffs intend to move for a preliminary injunction ,
  see ECF No. 30, and intend to discuss that motion with the parties.
                                                    2
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                                        Certificate of Service

         I hereby certify that this document filed through the ECF system will be sent electronically

  to the registered participants as identified on the Notice of Electronic Filing on August 19, 2021.

                                                /s/ Joshua Kolsky
                                                    Joshua Kolsky




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